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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA                      §
                                               §
 vs.                                           §    CASE NO. 4:23-CR-218-1
                                               §
 (1) HARDIK JAYANTILAL PATEL,                  §
                                               §
          Defendant.                           §

                                    MOTION TO DISMISS

         The United States, in accordance with the Plea Agreement in this case, hereby moves the

Court to dismiss without prejudice Counts Two through Seven of the Criminal Indictment at the

time of sentencing.

                                             Respectfully Submitted,

                                             NICHOLAS J. GANJEI
                                             United States Attorney
                                             Southern District of Texas

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